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                      IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF UTAH



UNITED STATES OF AMERICA,                                           FELONY
                                                                   COMPLAINT
                     Plaintiff,
                                                     VIOLATION:     '2: ''ZO Mj l-f l t~,- D8P
vs.
                                                     Count 1: 18 U.S.C. § 844(i), Arson in
JACKSON STUART TAMOWSKI                              Interstate Commerce
PATTON,

                     Defendant.                      Chief Magistrate Judge Dustin B. Pead




       Before the Honorable Dustin B. Pead, United States Chief Magistrate Judge for the

District of Utah, appeared the undersigned, who on oath deposes and says:

                                            COUNT 1
                                        18 u.s.c. § 844(i)
                                  [Arson in Interstate Commerce]

       On or about May 30, 2020, in the District of Utah,

                      JACKSON STUART TAMOWSKI PATTON,
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Defendant herein, maliciously damaged and destroyed, and attempted to maliciously damage

and destroy, by means of fire and explosives, a vehicle, to wit: a Salt Lake City Police

Department patrol car, used in interstate commerce and in activities affecting interstate

commerce, and did aid and abet therein; all in violation of 18 U.S.C. §§ 844(i) and 2.

      AFFIDAVIT IN SUPPORT OF COMPLAINT AND ARREST WARRANT

       Complainant, JEFFREY T. WRIGHT, being duly sworn, hereby states:

   1. I, Jeffrey T. Wright, am a Special Agent with the United States Department of Justice,

       Federal Bureau of Investigation, and have been employed in that capacity for

       approximately 12 years. I am currently assigned to the Salt Lake City Division of the

       FBI and have primary investigative responsibility for federal crimes related to

       national security and domestic terrorism. I gained experience in the conduct of such

       investigations through previous case investigations, formal training, and in

       consultation with law enforcement partners in local, state and federal law enforcement

       agencies. I have been trained to investigate federal crimes and have investigated an

       array of complex federal crimes.

   2. The statements in this affidavit are based, in part, on information provided by law

       enforcement officers, other investigators with knowledge of this investigation, and

       witnesses who observed the incident, as well as information obtained from the State

       of Utah. Since this affidavit is being submitted for the limited purpose of securing a

       criminal complaint I have not included every fact known to me concerning this

       investigation. Rather, I have set forth only the facts necessary to establish probable


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    cause for the complaint.

                                 Statement of Probable Cause

 3. On May 30, 2020, protestors took to the streets of Salt Lake City, Utah, to call for

    justice after the killing of George Floyd on May 25, 2020 in Minneapolis, Minnesota.

    Similar protests occurred in other cities across the United States in the days following

    May 25, 2020. Some of the protests devolved into vandalism, property damage, arson

    and other riotous acts.

 4. On May 30, 2020, protestors assembled on the streets of downtown Salt Lake City.

    Some of the protestors were non-residents of Utah.

 5. The downtown area of Salt Lake City, Utah hosts myriad companies, commercial

    properties, retail establishments, restaurants, gas stations, public facilities and other

    businesses that were open for business on May 30, 2020, during the time of the

    protest.

 6. During the protest, Salt Lake City Police Officers and other law enforcement

    personnel were deployed throughout the downtown area to protect individuals,

    businesses, and property. Police officers used law enforcement vehicles throughout

    the protest to transport law enforcement personnel, to provide emergency aid and

    assistance, and to serve as a resource for crowd control measures.

 7. The Salt Lake City Police Department regularly conducts business in interstate

    commerce, for instance by purchasing vehicles and other equipment and supplies in

    interstate commerce. The activities of the Salt Lake City Police Department in


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    enforcing laws also affect interstate commerce.

 8. On the afternoon of May 30, 2020, the peaceful protest in downtown Salt Lake City

    devolved into acts of destruction and violence. Rioters near the Salt Lake City library

    at 200 East 400 South overturned a Salt Lake City Police Department patrol car.

    Moments later rioters set the patrol car ablaze.

 9. Video footage of the riot displays rioters standing on top of the overturned patrol car.

    Video footage also shows individual rioters using fire and explosives to damage and

    destroy the patrol car.

 10. The patrol car was engulfed in flames, as shown in the photograph below:




 11. The patrol car was completely destroyed, as shown in the photograph below:




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 12. On May 31, 2020, ATF Special Agent Certified Fire Investigator Candidate Tyler

    Olson and Salt Lake City Fire Investigators examined the destroyed patrol car. The

    patrol car is a Chevrolet Impala. From the physical examination of the vehicle, and

    video and photographic evidence, it is SA Olson's opinion that the destruction of the

    patrol car was incendiary in nature.

 13. A review of video footage from May 30, 2020, shows multiple individuals standing at

    a distance around the overturned Salt Lake City Police Department patrol car. One

    individual is observed on the south side of the patrol car bending at the waist reaching

    into the vehicle with his right arm near what appears to be a small flame. The

    individual walks away from the patrol car for a few seconds then returns to the patrol

    car. The individual then appears to be throwing an unknown substance from what

    appears to be a canister into the patrol car causing the flames to increase. This

    individual is described as Caucasian wearing black pants, a black tee shirt with light

    colored font saying "Free Throw" on the back.

 14. Footage also shows this same individual wearing a black hat with lettering reading

    "SALT LAKE" and black cloth covering the individual's nose and mouth. Video

    shows this individual having three distinctive tattoos on the back-right ann above the

    elbow. The tattoo closest to the elbow is described as a heart with teary eyes. The

    tattoo above is described as a diamond and above that is a tattoo that says "801". See

    photo below:




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   15. On June 2, 2020 during a demonstration, law enforcement officers with Salt Lake

       City Police Department located the individual based on the tattoos described above.

       The individual was arrested by Salt Lake City Police Department and was identified

       as Jackson Stuart Tarnowski PATTON.

   16. Based on the foregoing infonnation, I respectfully request an arrest warrant be issued

       for Jackson Stuart Tarnowski PATTON for a violation of 18 U.S.C. § 844(i).



       I swear that this information is trne and correct to the best of my knowledge,

information, and belief.

       DATED this    j__ day of June 2020.

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                                                       Isl Jeffrey T. Wright
                                                       JEFFREY T. WRIGHT
                                                       FBI Special Agent

Approved as to form:

JOHN W. HUBER
United States Attorney

                ·: Digitally signed by JONATHAN
JONATHAN YEATES    YEATES
                   Date: 2020,06,03 08:22:11 -06'00'


J. DREW YEATES
Assistant United States Attorney


       The affiant appeared before me by telephonic conference on this date pursuant to Fed.

R. Crim. P. 4.1 and affinned under oath the content of this affidav·




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